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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

TEHMINA WEILAND AND
SANDRA VISGER,

           Plaintiffs,                                 Case No.: 2:19-cv-13115
vs.                                                    Hon.:
K&M MEDICAL & CATASTROPHIC
MANAGEMENT, LLC., a Michigan limited
liability company, and KARRI DOTSTRY,

           Defendants,
__________________________________________________________________

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                               COMPLAINT
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      Now Come Plaintiffs, TEHMINA WEILAND (“Weiland”) and SANDRA

VISGER (“Visger"), by their counsel, SAVATORE, PRESCOTT & PORTER,

PLLC., and for their Complaint against the Defendants, K&M MEDICAL &

CATASTROPHIC MANAGEMENT, LLC. (“K&M") and KARRI DOTSTRY

(“Dotstry”), state and allege as follows:

       1.    Weiland is an individual citizen and resident of the St. Clair Shores,

Michigan.

       2.    Visger is an individual citizen and resident of Novi, Michigan.

      3.     K&M is a Michigan limited liability company organized and existing

under and by virtue of the laws of the State of Michigan with its principal place of

business, resident agent, and registered address located in the City of Warren,

Michigan, within this judicial district.

      4.     Dotstry is the sole member and CEO of K&M.

                          JURISDICTION AND VENUE
      5.     This Court has original jurisdiction of this matter pursuant to 28
U.S.C. § 1331, because Weiland and Visger’s claims are brought, in part, under the
Fair Labor Standards Act, 29 U.S.C. § 201 et seq.
       6.    This Honorable Court also has supplemental jurisdiction over the
Plaintiff’s state law claims pursuant to 28 U.S.C §1367.
       7.    Venue is proper in the United States District Court for the Eastern
District of Michigan pursuant to 28 U.S.C. § 1391 because K&M’s principal place
of business is located in this judicial district.

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                                      FACTS

        8.    Weiland was hired by K&M on or about March 16, 2018.

        9.    Visger was hired by K&M on December 18, 2018.

        10.   K&M classified both Weiland and Visger exempt employees thus

ineligible for overtime compensation for any hours worked over 40 per week.

        11.   Both Weiland and Visger dispute that they worked in positions that

were exempt from overtime compensation.

        12.   Weiland and Visger each claim that they worked more than 40 hours

during several of the weeks that they were employed by K&M.

        13.   K&M did not pay either Weiland or Visger overtime pay for the hours

they worked in excess of 40 during any given work week.

        14.   K&M terminated Weiland’s employment on or about February 11,

2019.

        15.   K&M terminated Visger’s employment on March 13, 2019.

   COUNT I – VIOLATION OF THE FAIR LABOR STANDARDS ACT
                  (“FLSA”), 29 USC § 201 et seq.

        16.   Plaintiffs incorporate by reference paragraphs 1 through 15 as if the

same were set forth herein.

        17.   K&M is an "employer" for the purposes of the FLSA pursuant to 29

U.S.C. § 203(d).


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       18.   Pursuant to the FLSA, Weiland is owed unpaid overtime, plus her

legal fees incurred in collecting the unpaid overtime.

       19.   Pursuant to the FLSA, Visger is owed unpaid overtime, plus her

legal fees incurred in collecting the unpaid overtime.

       20.   Both Plaintiffs have incurred and will continue to incur legal fees and

costs with respect to collecting payment of their overtime wages.

      WHEREFORE, Weiland and Visger each request that this Honorable Court

enter a judgment in each of their favor, and against Defendants, jointly and severally,

for damages to be established by the proofs in this cause, as well as liquidated

damages, interest, the costs of litigation, including reasonable attorneys’ fees, and

any and all other relief appropriate under the circumstances.

                                     COUNT II

   WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

       21.   Plaintiffs repeat and incorporate paragraphs 1 through 20 as if the same

were set forth herein.

       22.   Both Weiland and Visger claim that they were wrongfully terminated

by K&M for reasons that violate Michigan’s established public policy.

       23.   As a direct and proximate result of their wrongful termination by

K&M’s, Weiland and Visger, respectively, have each suffered lost wages and other




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financial distress, mental and emotional distress, embarrassment and humiliation

and damage to their respective reputations among their peers.

      WHEREFORE, Weiland and Visger each request that this Honorable Court

enter a judgment in each of their favor, and against Defendants, jointly and severally,

for compensatory damages for lost wages and employee benefits, and to compensate

Plaintiff for mental and emotion distress that they have each experienced, together

with interest and attorney fees.

                                        Respectfully Submitted,

                                        SAVATORE, PRESCOTT
                                         & PORTER, PLLC.

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Date: October 23, 2019




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